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                              UNITED STATES DISTRICT COURT
 8                          NORTHERN DISTRICT OF CALIFORNIA
                                 SAN FRANCISCO DIVISION
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10    CASEY ROBERTS, individually and on          Case No. 3:19-cv-03422-SI
      behalf of all others similarly situated,
11                                                CLASS ACTION
                           Plaintiff,
12                                                [PROPOSED] ORDER GRANTING
                    v.                            MOTION FOR APPOINTMENT AS
13                                                LEAD PLAINTIFF AND APPROVAL
     ZUORA, INC. TIEN TZUO, and TYLER             OF SELECTION OF LEAD COUNSEL
14   SLOAT,
                                                  Date: October 4, 2019
15                         Defendants.            Time: 10:00 A.M.
16                                                Dept.: Courtroom 1 – 17th Floor
                                                  Judge: Hon. Susan Illston
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     [PROPOSED] ORDER APPOINTING LEAD PLAINTIFF
     CASE NO. 3:19-cv-03422-SI
                 Case 3:19-cv-03422-SI Document 31-1 Filed 08/13/19 Page 2 of 2




 1          Upon consideration of (1) the Motion of the City of Fort Lauderdale Police & Fire

 2   Retirement System (“Fort Lauderdale”) for appointment as Lead Plaintiff and approval of its

 3   selection of Lead Counsel; (2) the Memorandum of Points and Authorities in support of the

 4   Motion; (3) the Declaration of Jonathan D. Uslaner; and (4) all other pleadings and arguments

 5   submitted to this Court; and for good cause shown

 6   IT IS HEREBY ORDERED THAT:

 7          1.       Fort Lauderdale’s Motion is GRANTED.

 8          2.       Fort Lauderdale is APPOINTED to serve as Lead Plaintiff under Section

 9   21D(a)(3)(B) of the Securities Exchange Act of 1934, 15 U.S.C. § 78u-4(a)(3)(B), as amended by

10   the Private Securities Litigation Reform Act of 1995, in the above-captioned action and all related

11   actions consolidated in accordance with paragraph 4 of this Order.

12          3.       Fort Lauderdale’s selection of Lead Counsel is APPROVED, and Bernstein

13   Litowitz Berger & Grossmann LLP is APPOINTED as Lead Counsel for the Class.

14          4.       In accordance with Rule 42(a) of the Federal Rules of Civil Procedure, any

15   subsequently filed, removed, or transferred actions that are related to the claims asserted in the

16   above-captioned action are CONSOLIDATED for all purposes.

17          5.       This action will be captioned “In re Zuora, Inc. Securities Litigation,” and the file

18   shall be maintained under Master File No. 3:19-cv-03422-SI.

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20   IT IS SO ORDERED.

21   DATED: ________________                       __________________________________________
                                                    HONORABLE SUSAN ILLSTON
22                                                  UNITED STATES DISTRICT JUDGE
23                                                  NORTHERN DISTRICT OF CALIFORNIA

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     [PROPOSED] ORDER APPOINTING LEAD PLAINTIFF
     CASE NO. 3:19-cv-03422-SI
